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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

SYMBOLOGY INNOVATIONS, LLC,

                      Plaintiff,                Civil Action No. 2:17-cv-00784-JRG-RSP
              v.
                                                    CONSOLIDATED LEAD CASE
BOUNCE ENERGY, INC., ET AL,
                                                       JURY TRIAL DEMANDED
                     Defendants.


                              JOINT NOTICE OF DISMISSAL

       IT IS HEREBY STIPULATED AND AGREED by the undersigned counsel for Plaintiff

Symbology Innovations, LLC (“Symbology”) and Defendant Cooper Bussmann, LLC (“Cooper”),

pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, to dismiss all of

Symbology’s claims WITH PREJUDICE and all of Cooper’s counterclaims WITHOUT

PREJUDICE, with each party to bear its own costs and attorneys’ fees.
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Dated: May 8, 2018                       Respectfully submitted,


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                                         -and-


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                                 CERTIFICATE OF SERVICE

          I hereby certify that all counsel of record who have consented to electronic service are
  being notified of the filing of this document via the Court’s CM/ECF system per Local Rule CV-
  5(a)(3) on this 8th day of May, 2018.

                                                     /s/ Thomas C. Wright
                                                     Thomas Wright
